Redacted- Public Version
I, Rachael D. Lamkin, declare as follows:

        1.      I am lead counsel of record for Defendant CompanyCam. I am an attorney

licensed to practice law in all state and federal courts in California, the Eastern District of Texas,

Colorado federal court, the Court of International Trade, the International Trade Commission,

and the Federal Circuit Court of Appeals. I was admitted Pro Hac Vice in this matter on August

29, 2019.

        2.      I am over the age of 18, and I have personal knowledge of the facts set forth

herein and could competently testify about these matters if called upon to do so.

        3.      The patent litigation analytics company, RPX, reports that Rothschild has filed

820 patent litigations in the United States. See https://insight.rpxcorp.com/ent/352299-leigh-m-

rothschild. 747 of those cases are no longer active, 73 of them are active.

        4.      RPX also reports that Leigh Rothschild is consistently among the most prolific

patent assertion entities year after year.

             a. See https://www.rpxcorp.com/wp-content/uploads/sites/2/2017/05/the-most-

                active-patent-trolls-of-2016.pdf

             b. https://www.csmonitor.com/Technology/2016/0106/Despite-crackdown-from-

                courts-patent-suits-still-battered-tech-companies-in-2015

        5.      The courts as well as the patent and intellectual property press consistently

identify Rothschild as someone that files meritless claims. See, e.g.:

             a. Rothschild Connected Devices Innovations, LLC v. Guardian Prot. Servs., 858

                F.3d 1383, 1390 (Fed. Cir. 2017).

             b. https://www.eff.org/deeplinks/2017/06/federal-circuit-hits-stupid-patent-owner-

                fee-award
              c. https://arstechnica.com/tech-policy/2017/04/garmin-sued-in-east-texas-over-

                 patents-on-an-internet-drink-mixer-seeks-legal-fees/

       6.        I ran a search for all patentee favorable outcomes for Rothschild’s suits on Docket

Navigator. Attached as Exhibit A is a true and correct copy of the results of that search. Of the

hundreds of outcomes listed in the results, only 3 are listed as patentee favorable. I drilled own

on those 3, and each of them did not actually favor the patentee.

              a. Gameloft was dismissed for failure to prosecute;

              b. Coresystems was dismissed without prejudice before claim construction;

              c. The Mitek case is the same patent as the case at bar. It ended in IPR with the

                 asserted ’872 claims being invalidated except for a couple of claims ultimately

                 found to be patent ineligible here.

       7.        Using again the Docket Navigator database, I entered the ’872 Patent into that

database. The only claim constructions for the ’872 Patent were for the aforementioned IPR; the

claims of the ’872 have never made it even as far as claim construction in district court.

       8.        Based on my firm’s invoices, I estimate my firm will bill approximately 72 hours

at $500/hr.

       9.        Attached as Exhibit B is a chart I created mapping the “conventional” admissions

in the ’872 Patent to the asserted claim language.

       10.       Attached as Exhibits C and D are true and correct copies of RDC’s settlement

agreements with TerraGo and Field Agent, received by CompanyCam upon service of a Rule 45

subpoena.

       11.
          12.    Attached as Exhibit E is a true and correct copy of the IPR decision for the ’872

Patent.

          I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: April 16, 2020

                                                                      /s/ Rachael D. Lamkin
                                                                      Rachael D. Lamkin
                                CERTIFICATE OF SERVICE

       I, Andrew E. Russell, hereby certify that on April 16, 2020, this document was served on

the persons listed below in the manner indicated:

BY EMAIL                                        David A. Chavous
Stamatios Stamoulis                             Anissa N. Davidson
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                                                arussell@shawkeller.com
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                                                Attorneys for Defendants
Exhibit A
Mu t p e Part es                                                                                                                         4/14/20 10 46 AM




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                                                                                                                 Patentee Accusations & Outcomes
 Multiple Parties                                                                                                                               Patentees
                                                                                                                                                13 Parties

 Exported results are limited to 300. To view more data, open this search tab in a browser.

   Patentee                                              Patent        Patent Challenger                                  Outcome

   Rothschild Digital Media Innovations, LLC             6101534       G5 Entertainment AB                                Settled/Voluntarily Dismissed

   Rothschild Digital Media Innovations, LLC             6101534       Gameloft, SA                                       Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Digital Media Innovations, LLC             6101534       Gameloft, SA                                       Patentee Won

   Rothschild Digital Media Innovations, LLC             6101534       Sony Computer Entertainment America LLC            Patent Challenger Won

   Rothschild Digital Media Innovations, LLC             6101534       Sony Computer Entertainment America LLC            Transferred

   Rothschild Digital Media Innovations, LLC             6101534       Sony Computer Entertainment America LLC            Settled/Voluntarily Dismissed

   Rothschild Digital Media Innovations, LLC             6101534       Supercell Oy                                       Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Trust Holdings, LLC                        6101534       Citrix Online, LLC                                 Settled/Voluntarily Dismissed

   Rothschild Trust Holdings, LLC                        6101534       Citrix Systems, Inc.                               Settled/Voluntarily Dismissed

   Rothschild Trust Holdings, LLC                        6101534       ORB Networks, INC.

   Rothschild Trust Holdings, LLC                        6101534       ORB Networks, INC.

   Rothschild Mobile Imaging Innovations, LLC            7450163       Bank of America Corporation                        Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Bank of America, NA                                Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Citibank, NA                                       Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Citigroup, Inc.                                    Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Fiserv, Inc.                                       Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       JPMorgan Chase Bank, NA                            Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       JPMorgan Chase & Co.                               Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Mitek Systems, Inc.                                Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Mitek Systems, Inc.                                Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Mitek Systems, Inc.                                Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Mitek Systems, Inc.                                Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Mitek Systems, Inc.                                Patent Challenger Won

   Rothschild Mobile Imaging Innovations, LLC            7450163       NCR Corporation                                    Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       NCR Corporation                                    Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Wells Fargo Bank, NA                               Patent Challenger Won
                                                                                                                          (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7450163       Wells Fargo & Company                              Patent Challenger Won
                                                                                                                          (Related Case)



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Mu t p e Part es                                                                                                                          4/14/20 10 46 AM



   Rothschild Digital Conﬁrmation, LLC                   7456872       Abaqus Inc.                                          Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Acumatica, Inc.

   Rothschild Digital Conﬁrmation, LLC                   7456872       Appsheet, Inc.                                       Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       BlueFolder Software, Inc.                            Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Canvas Solutions, Inc. d/b/a GoCanvas                Transferred

   Rothschild Digital Conﬁrmation, LLC                   7456872       Canvas Solutions, Inc. d/b/a GoCanvas                Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Cellco Partnership d/b/a Verizon Wireless            Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       ClickSoftware Inc.                                   Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       CompanyCam, Inc.

   Rothschild Digital Conﬁrmation, LLC                   7456872       Coresystems AG                                       Patentee Won (Related Case)

   Rothschild Digital Conﬁrmation, LLC                   7456872       dESCO LLC                                            Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Epay Systems, Inc.

   Rothschild Digital Conﬁrmation, LLC                   7456872       Field Agent, Inc.                                    Patent Challenger Won
                                                                                                                            (Related Case)

   Rothschild Digital Conﬁrmation, LLC                   7456872       FieldAware US, Inc.                                  Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       FieldOne Systems LLC                                 Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Fingent Corporation                                  Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       FleetMatics USA Group Holdings, Inc.                 Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       FleetMatics USA Holdings, Inc.                       Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Fleetmatics USA, LLC                                 Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Freshworks Inc. d/b/a Freshworks Enterprise, Inc.

   Rothschild Digital Conﬁrmation, LLC                   7456872       GoSpotCheck, Inc.                                    Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       IFS Americas, Inc.                                   Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Innovapptive, Inc.                                   Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Intuit Inc.                                          Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Kickserv, Inc.                                       Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       mHelpDesk, Inc.                                      Patent Challenger Won
                                                                                                                            (Related Case)

   Rothschild Digital Conﬁrmation, LLC                   7456872       Mize, Inc.

   Rothschild Digital Conﬁrmation, LLC                   7456872       Oracle America, Inc.                                 Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Oracle America, Inc.                                 Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Replicon Software, Inc.

   Rothschild Digital Conﬁrmation, LLC                   7456872       Repsly, Inc.                                         Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Servicechannel.com, Inc.

   Rothschild Digital Conﬁrmation, LLC                   7456872       ServiceMax, Inc.                                     Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       ServicePower Inc.                                    Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       simPRO Software Limited d/b/a simPRO United States   Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Skedulo Holdings Inc.

   Rothschild Digital Conﬁrmation, LLC                   7456872       Synchroteam                                          Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       TeamConnect, LLC

   Rothschild Digital Conﬁrmation, LLC                   7456872       Telogis, Inc.                                        Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       TerraGo Technologies, Inc.                           Patent Challenger Won
                                                                                                                            (Related Case)

   Rothschild Digital Conﬁrmation, LLC                   7456872       Tsheets.com, Inc.                                    Settled/Voluntarily Dismissed

   Rothschild Digital Conﬁrmation, LLC                   7456872       Wolf Mobile, Inc. d/b/a Ecomz Wireless               Patent Challenger Won
                                                                                                                            (Related Case)




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   Rothschild Digital Conﬁrmation, LLC                   7456872       WorkWave LLC                                    Settled/Voluntarily Dismissed

   Rothschild Mobile Imaging Innovations, LLC            7456872       Bank of America Corporation                     Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       Bank of America, NA                             Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       Citibank, NA                                    Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       Citigroup, Inc.                                 Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       Fiserv, Inc.                                    Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       JPMorgan Chase Bank, NA                         Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       JPMorgan Chase & Co.                            Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       Mitek Systems, Inc.                             Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       Mitek Systems, Inc.                             Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       Mitek Systems, Inc.                             Patent Challenger Won

   Rothschild Mobile Imaging Innovations, LLC            7456872       Mitek Systems, Inc.                             Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       Mitek Systems, Inc.                             Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       NCR Corporation                                 Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       NCR Corporation                                 Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       Wells Fargo Bank, NA                            Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7456872       Wells Fargo & Company                           Patent Challenger Won
                                                                                                                       (Related Case)

   Rothschild Connected Devices Innovations, LLC         7899713       Exxon Mobil Corporation                         Settled/Voluntarily Dismissed

   Rothschild Connected Devices Innovations, LLC         7899713       Garmin International, Inc.                      Settled/Voluntarily Dismissed

   Rothschild Connected Devices Innovations, LLC         7899713       GoPro, Inc.                                     Settled/Voluntarily Dismissed

   Rothschild Connected Devices Innovations, LLC         7899713       LG Electronics, Inc.                            Settled/Voluntarily Dismissed

   Rothschild Connected Devices Innovations, LLC         7899713       LG Electronics USA, Inc.                        Settled/Voluntarily Dismissed

   Rothschild Connected Devices Innovations, LLC         7899713       Motorola Mobility LLC                           Settled/Voluntarily Dismissed

   Rothschild Connected Devices Innovations, LLC         7899713       Whirlpool Corporation                           Settled/Voluntarily Dismissed

   Rothschild GPS Sharing Innovations, LLC               7917285       Nissan North America, Inc.

   Rothschild Location Technologies LLC                  7917285       American Honda Motor Co., Inc.                  Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       CalAmp Corp.                                    Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       Discrete Wireless, Inc.                         Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       Global Tracking Communications, Inc.            Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       Glympse Inc.                                    Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       Hyundai Motor America                           Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       Lyft, Inc.                                      Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       Motorola Solutions, Inc. f/k/a Motorola, Inc.   Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       Nissan North America, Inc.                      Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       Teletrac Inc.

   Rothschild Location Technologies LLC                  7917285       Uber Technologies, Inc.                         Settled/Voluntarily Dismissed



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   Rothschild Location Technologies LLC                  7917285       Volkswagen Group of America, Inc.   Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       Volkswagen Group of America, Inc.   Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  7917285       Volvo Cars of North America, LLC    Settled/Voluntarily Dismissed

   Rothschild Mobile Imaging Innovations, LLC            7991792       Bank of America Corporation         Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       Bank of America, NA                 Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       Citibank, NA                        Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       Citigroup, Inc.                     Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       Fiserv, Inc.                        Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       JPMorgan Chase Bank, NA             Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       JPMorgan Chase & Co.                Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       Mitek Systems, Inc.                 Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       Mitek Systems, Inc.                 Patent Challenger Won

   Rothschild Mobile Imaging Innovations, LLC            7991792       Mitek Systems, Inc.                 Patentee Won

   Rothschild Mobile Imaging Innovations, LLC            7991792       Mitek Systems, Inc.                 Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       Mitek Systems, Inc.                 Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       Mitek Systems, Inc.                 Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       NCR Corporation                     Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       NCR Corporation                     Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       Wells Fargo Bank, NA                Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7991792       Wells Fargo & Company               Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       Bank of America Corporation         Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       Bank of America, NA                 Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       Citibank, NA                        Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       Citigroup, Inc.                     Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       Fiserv, Inc.                        Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       JPMorgan Chase Bank, NA             Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       JPMorgan Chase & Co.                Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       Mitek Systems, Inc.                 Patent Challenger Won
                                                                                                           (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       Mitek Systems, Inc.                 Patent Challenger Won

   Rothschild Mobile Imaging Innovations, LLC            7995118       Mitek Systems, Inc.                 Patent Challenger Won
                                                                                                           (Related Case)




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Mu t p e Part es                                                                                                                  4/14/20 10 46 AM



   Rothschild Mobile Imaging Innovations, LLC            7995118       Mitek Systems, Inc.                          Patent Challenger Won
                                                                                                                    (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       Mitek Systems, Inc.                          Patent Challenger Won
                                                                                                                    (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       NCR Corporation                              Patent Challenger Won
                                                                                                                    (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       NCR Corporation                              Patent Challenger Won
                                                                                                                    (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       Wells Fargo Bank, NA                         Patent Challenger Won
                                                                                                                    (Related Case)

   Rothschild Mobile Imaging Innovations, LLC            7995118       Wells Fargo & Company                        Patent Challenger Won
                                                                                                                    (Related Case)

   Rothschild Trust Holdings, LLC                        7995118       Mitek Systems, Inc.                          Patent Challenger Won

   Rothschild Patent Imaging LLC                         8204437       3D Robotics, Inc.                            Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       ADT, LLC                                     Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       ArcSoft, Inc.                                Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Autel Robotics USA LLC                       Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       D-Link Systems, Inc.                         Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Edimax Computer Company                      Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       FLIR Lorex, Inc.                             Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Honeywell International, Inc.                Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Horizon Hobby, LLC                           Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Logitech Inc.                                Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Lorex By FLIR f/k/a Lorex Technology, Inc.   Substituted

   Rothschild Patent Imaging LLC                         8204437       LT Security Inc.                             Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Netgear, Inc.                                Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       On-Net Surveillance Systems, Inc.            Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Parrot, Inc.                                 Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Piximity, LLC                                Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Slomin's, Inc.                               Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Swann Communications USA Inc.                Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Swann Communications USA Inc.                Transferred

   Rothschild Patent Imaging LLC                         8204437       The Firelands Group, LLC                     Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Trendnet, Inc.                               Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Vivint, Inc.                                 Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Vivotek USA, Inc.                            Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       YI Technologies, Inc.                        Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8204437       Yuneec USA, Inc.                             Settled/Voluntarily Dismissed

   Rothschild Connected Devices Innovations, LLC         8417377       The Coca-Cola Company                        Patent Challenger Won

   Rothschild Connected Devices Innovations, LLC         8417377       The Coca-Cola Company                        Transferred

   Rothschild Patent Imaging LLC                         8437797       3D Robotics, Inc.                            Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       ADT, LLC                                     Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       ArcSoft, Inc.                                Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       AsusTek Computer Inc.                        Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Autel Robotics USA LLC                       Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Badoo Software Ltd.                          Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Badoo Trading Limited                        Settled/Voluntarily Dismissed



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Mu t p e Part es                                                                                                                                4/14/20 10 46 AM



   Rothschild Patent Imaging LLC                         8437797       D-Link Systems, Inc.                                       Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Edimax Computer Company                                    Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       FLIR Lorex, Inc.                                           Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Foursquare Labs, Inc.                                      Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Grindr LLC                                                 Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Hobbico, Inc.                                              Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Honeywell International, Inc.                              Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Horizon Hobby, LLC                                         Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       JK Imaging Ltd.                                            Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Line Euro-Americas Corp.                                   Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Logitech Inc.                                              Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Lorex By FLIR f/k/a Lorex Technology, Inc.                 Substituted

   Rothschild Patent Imaging LLC                         8437797       LT Security Inc.                                           Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       MeetMe, Inc.                                               Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Netgear, Inc.                                              Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Parrot, Inc.                                               Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Photobucket.com, Inc.                                      Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Pinterest, Inc.                                            Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       PLR Brand Services, LLC                                    Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       PLR Ecommerce, LLC                                         Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       PLR IP Holdings, LLC                                       Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Pushbullet, Inc.                                           Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Rakuten USA, Inc.                                          Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Ricoh Imaging Americas Corporation                         Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Skout, Inc.                                                Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Slomin's, Inc.                                             Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Swann Communications USA Inc.                              Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Swann Communications USA Inc.                              Transferred

   Rothschild Patent Imaging LLC                         8437797       TangoMe, Inc.                                              Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       The Firelands Group, LLC                                   Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Trendnet, Inc.                                             Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Tumblr, Inc.                                               Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       United Technologies Corporation                            Substituted

   Rothschild Patent Imaging LLC                         8437797       United Technologies Fire & Security Americas Corporation   Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Vivint, Inc.                                               Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Vivotek USA, Inc.                                          Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       YI Technologies, Inc.                                      Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8437797       Yuneec USA, Inc.                                           Settled/Voluntarily Dismissed

   Rothschild Storage Retrieval Innovations, LLC         8437797       Apple Inc.                                                 Transferred

   Rothschild Storage Retrieval Innovations, LLC         8437797       Apple Inc.                                                 Settled/Voluntarily Dismissed

   Rothschild Storage Retrieval Innovations, LLC         8437797       Google LLC f/k/a Google Inc.                               Settled/Voluntarily Dismissed

   Rothschild Storage Retrieval Innovations, LLC         8437797       HTC America, Inc.

   Rothschild Storage Retrieval Innovations, LLC         8437797       HTC America, Inc.                                          Transferred

   Rothschild Storage Retrieval Innovations, LLC         8437797       HTC Corporation

   Rothschild Storage Retrieval Innovations, LLC         8437797       HTC Corporation                                            Transferred


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Mu t p e Part es                                                                                                                         4/14/20 10 46 AM



   Rothschild Storage Retrieval Innovations, LLC         8437797       LG Electronics, Inc.                                Transferred

   Rothschild Storage Retrieval Innovations, LLC         8437797       LG Electronics, Inc.                                Settled/Voluntarily Dismissed

   Rothschild Storage Retrieval Innovations, LLC         8437797       LG Electronics MobileComm USA, Inc.                 Settled/Voluntarily Dismissed

   Rothschild Storage Retrieval Innovations, LLC         8437797       LG Electronics MobileComm USA, Inc.                 Transferred

   Rothschild Storage Retrieval Innovations, LLC         8437797       LG Electronics USA, Inc.                            Transferred

   Rothschild Storage Retrieval Innovations, LLC         8437797       LG Electronics USA, Inc.                            Settled/Voluntarily Dismissed

   Rothschild Storage Retrieval Innovations, LLC         8437797       Microsoft Mobile Inc. f/k/a Nokia, Inc.             Settled/Voluntarily Dismissed

   Rothschild Storage Retrieval Innovations, LLC         8437797       Motorola Mobility LLC                               Settled/Voluntarily Dismissed

   Rothschild Storage Retrieval Innovations, LLC         8437797       Nokia Corp.

   Rothschild Storage Retrieval Innovations, LLC         8437797       Samsung Electronics America, Inc.

   Rothschild Storage Retrieval Innovations, LLC         8437797       Samsung Electronics America, Inc.                   Transferred

   Rothschild Storage Retrieval Innovations, LLC         8437797       Samsung Electronics Co., Ltd.

   Rothschild Storage Retrieval Innovations, LLC         8437797       Samsung Electronics Co., Ltd.                       Transferred

   Rothschild Storage Retrieval Innovations, LLC         8437797       Sony Mobile Communications (USA), Inc. n/k/a Sony
                                                                       Electronics Inc.

   Rothschild Storage Retrieval Innovations, LLC         8437797       Sony Mobile Communications (USA), Inc. n/k/a Sony   Transferred
                                                                       Electronics Inc.

   Rothschild Patent Imaging LLC                         8594722       ADT, LLC                                            Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       ArcSoft, Inc.                                       Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       D-Link Systems, Inc.                                Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       Edimax Computer Company                             Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       FLIR Lorex, Inc.                                    Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       Honeywell International, Inc.                       Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       Logitech Inc.                                       Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       Lorex By FLIR f/k/a Lorex Technology, Inc.          Substituted

   Rothschild Patent Imaging LLC                         8594722       LT Security Inc.                                    Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       Netgear, Inc.                                       Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       Slomin's, Inc.                                      Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       Swann Communications USA Inc.                       Transferred

   Rothschild Patent Imaging LLC                         8594722       Swann Communications USA Inc.                       Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       Trendnet, Inc.                                      Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       Vivint, Inc.                                        Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       Vivotek USA, Inc.                                   Settled/Voluntarily Dismissed

   Rothschild Patent Imaging LLC                         8594722       YI Technologies, Inc.                               Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Actsoft, Inc.                                       Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       AGCO Corporation                                    Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Alohar Mobile Inc.                                  Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       AT&T Mobility LLC                                   Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Blue Tree Systems, Inc.                             Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       CalAmp Corp.                                        Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Cellco Partnership d/b/a Verizon Wireless           Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       CNH Industrial America LLC                          Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Deere & Company                                     Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Discrete Wireless, Inc.                             Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Fleetcor Technologies, Inc.                         Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Fleetmatics USA, LLC


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Mu t p e Part es                                                                                                                             4/14/20 10 46 AM



   Rothschild Location Technologies LLC                  8606503       Geoforce, Inc.                                          Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Geotab USA, Inc.                                        Patent Challenger Won

   Rothschild Location Technologies LLC                  8606503       Global Tracking Communications, Inc.                    Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Glympse Inc.                                            Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       GoFleet Corporation                                     Patent Challenger Won

   Rothschild Location Technologies LLC                  8606503       GPS Insight, LLC

   Rothschild Location Technologies LLC                  8606503       Hyundai Motor America                                   Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Iler Group, Inc.                                        Patent Challenger Won

   Rothschild Location Technologies LLC                  8606503       Imarda USA, Inc.                                        Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       InTouch GPS, LLC                                        Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Jaguar Land Rover North America, LLC                    Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Leica Geosystems Inc.                                   Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Life360, Inc.                                           Patent Challenger Won

   Rothschild Location Technologies LLC                  8606503       Limo Anywhere, LLC                                      Patent Challenger Won

   Rothschild Location Technologies LLC                  8606503       Lyft, Inc.                                              Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Marathon Data Operating Co., LLC                        Patent Challenger Won

   Rothschild Location Technologies LLC                  8606503       Meitrack America Corporation                            Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Mix Telematics North America, Inc.                      Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Navman Wireless North America, Ltd.                     Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Quartix, Inc.                                           Patent Challenger Won

   Rothschild Location Technologies LLC                  8606503       Raven Industries, Inc. d/b/a Raven Applied Technology   Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Redtail Telematics Corporation                          Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Roadnet Technologies, Inc.

   Rothschild Location Technologies LLC                  8606503       Skypatrol, LLC                                          Patent Challenger Won

   Rothschild Location Technologies LLC                  8606503       Smart Fleet LLC                                         Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Spireon, Inc.                                           Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Sprint Spectrum LP                                      Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Telenav, Inc.                                           Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Teletrac Inc.

   Rothschild Location Technologies LLC                  8606503       Telogis, Inc.                                           Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       T-Mobile USA, Inc.                                      Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Trimble Navigation Limited                              Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       Uber Technologies, Inc.                                 Settled/Voluntarily Dismissed

   Rothschild Location Technologies LLC                  8606503       United States Cellular Corporation                      Settled/Voluntarily Dismissed




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Exhibit B
Lim#               Claim Language                                                  Specification
Pre    1. A locational image verification
       device for verifying an assignment of a
       user comprising:
1(a)   a user verification module for verifying    “The device 100 will also include a user verification module . . . [such as a]
       an identity of a user of the device,        finger print reader, . . . [for example] the BioTouch™ fingerprint reader
       wherein upon verification, the user         commercially available from Identix Incorporated of Minnetonka, Minn.” 5:38–
       verification module enables operation       42.
       of the device and provides an
       assignment to the user;
1(b)   a capture module for capturing an
       image relating to the assignment and
       creating a digital image file, wherein
       the user verification module verifies the
       identity of the user of the device at a
       time of the image capture;




1(c)   a locational information module for         “The locational information module 134 may include a receiver and antenna
       determining a location of the device        employing conventional locational information processing technology such as
       when capturing the image;                   Global Positioning Satellite (GPS) Technology . . . or any other available
                                                   locational technology . . . .” 5:54–63.
 Lim#               Claim Language                                                   Specification
1(d)    a date and time module for determining    “The date and time module 136 will use standard computer chip processing
        a date and time of the image capture;     technology widely in use, or alternatively, input from locational information
                                                  module 134, e.g., a GPS receiver, to supply the date and time of the image
                                                  capture.” 6:5-9
1(f)    a processing module for associating the   “Using standard computer programming and processing, this database would
        assignment, the user identity, location   then locate the stored digital image and associated files/information and also
        information and the time and date to      process the users request(s) regarding the digital image.” 7:46-49.
        the digital image file; and
                                                  “The device will contain a computer processing module 120, e.g., a
                                                  microprocessor.” 3:51-52.
1(g)    an encryption module for encrypting       “The device 100 will also include an encryption module 140. The encryption
        the digital image file and associated     module 140 will use conventional code encryption algorithms currently in use or
        information upon image capture.           that will be in use in the future such as DES, Triple DES, Blowfish, RSA, MD5,
                                                  etc.” 6:3135.
    Exhibit C
REDACTED IN IT ENTIRETY
    Exhibit D
REDACTED IN IT ENTIRETY
Exhibit E
     Trials@uspto.gov                                       Paper No. 7
     571-272-7822                                Entered: August 6, 2015


      UNITED STATES PATENT AND TRADEMARK OFFICE
                      ____________

       BEFORE THE PATENT TRIAL AND APPEAL BOARD
                      ____________

                        MITEK SYSTEMS, INC.,
                             Petitioner,

                                  v.

      ROTHSCHILD MOBILE IMAGING INNOVATIONS, LLC,
                      Patent Owner.
                     ____________

                         Case IPR2015-00624
                         Patent 7,456,872 B2
                           ____________



Before JAMESON LEE, DAVID C. MCKONE, and
CHARLES J. BOUDREAU, Administrative Patent Judges.

BOUDREAU, Administrative Patent Judge.


                              DECISION
                  Institution of Inter Partes Review
                          37 C.F.R. § 42.108
IPR2015-00624
Patent 7,456,872 B2

                            I. INTRODUCTION
      A. Background
      Mitek Systems, Inc. (“Petitioner”) filed a Petition (Paper 1, “Pet.”) to
institute inter partes review of claims 1–39 of U.S. Patent No. 7,456,872 B2
(Ex. 1001, “the ’872 patent”). Rothschild Mobile Imaging Innovations, LLC
(“Patent Owner”) filed a Preliminary Response (Paper 6, “Prelim. Resp.”).
      Upon consideration of the Petition and Preliminary Response, we are
persuaded, under 35 U.S.C. § 314(a), that Petitioner has demonstrated a
reasonable likelihood that it would prevail in showing the unpatentability of
claims 27, 28, 38, and 39 of the ’872 patent, but not of claims 1–26 or
29–37. Accordingly, we institute an inter partes review only of claims 27,
28, 38, and 39 of the ’872 patent.


      B. Related Matters
      The ’872 patent has been asserted in several lawsuits in the United
States District Court for the District of Delaware. Pet. 1–2; Paper 4, 2.


      C. References Relied Upon
      Petitioner relies on the following references (Pet. 3):
      Ex. 1003 Davis et al.      US 2002/0001395 A1 Jan. 3, 2002
            (hereinafter “Davis”)
      Ex. 1004 Steinberg et al. US 6,433,818 B1            Aug. 13, 2002
            (hereinafter “Steinberg”)
      Ex. 1005 Steinberg et al. US 6,750,902 B1            June 15, 2004
            (hereinafter “Steinberg ’902)




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                                II. ANALYSIS
      A. The ’872 Patent
      The ’872 patent describes digital imaging devices and methods for
embedding and retrieving of information in digital images. Ex. 1001,
Abstract.
      Figures 1A and 1B of the ’872 patent are reproduced below:




Figures 1A and 1B are front and back views, respectively, of a device for
capturing digital images and embedding information in the captured images.
Id. at 2:48–51.
      As shown in Figure 1A, the front side of device 100 includes lens 102
for capturing an image and microphone 106 for capturing audio information.
Id. at 3:31–37. As shown in Figure 1B, the rear side of device 100 includes
display module 108 (e.g., a touch screen display) for displaying captured
images, storage module 110 (e.g., a RAM or removable memory stick) for
storing captured images, transmission module 112 (e.g., Bluetooth™, Wi-fi,
or parallel or serial cables) for transmitting digital images to another device,
and scanning module 114 for scanning and inputting information to be


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associated with an image and for reading information from printed images.
Id. at 3:38–49, 4:29–34, 6:46–58.
      In the specific embodiments to which the claims of the ’872 patent are
directed, the devices (termed “locational image verification devices,” or
“LIVDs”) and methods verify or determine user identity; provide to, or
receive for, the user an “assignment”; determine the location of the device at
the time of image capture; determine the time and date of image capture;
associate the assignment, user identity, location, and time and date
information with the image; and encrypt the image and associated
information. See, e.g., claims 1, 27.
      The ’872 patent describes the functions of the device in terms of
modules, depicted in Figure 2.




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     Figure 2 of the ’872 patent is reproduced below:




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Figure 2 is a block diagram of the modules of a device for capturing digital
images and embedding information in the captured images. Id. at 2:52–54.
      Display module 108, storage module 110, and transmission module
112 correspond to those depicted in Figures 1A and 1B, above. Capture
module 122 works in conjunction with lens 102 to create a digital image,
which is stored in storage module 110. Id. at 4:13–29. User input module
124 receives text input, for example from a standard keyboard or a touch
screen that overlays display module 108. Id. at 4:55–62. Auxiliary input
module 126 collects data from other devices, such as user verification
module 132, locational information module 134, date and time module 136,
picture sequencing module 138, and various other input processors
providing additional information. Id. at 6:13–24. Encryption module 140
encrypts the data information that comes into user input module 124,
auxiliary input module 126, and optionally, the digital image file. Id. at
6:31–37.
      The ’872 patent further describes the functions of the LIVDs with
reference to Figure 8.




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      Figure 8 of the ’872 patent is reproduced below.




Figure 8 is a flowchart illustrating a method for verifying activities or
assignments of a user employing LIVD 100. Id. at 3:6–7, 13:45–14:67.
      As shown in Figure 8, the user initializes device 100 by registering his
identity with user verification module 132 (step 702). Id. at 13:49–52. The
user then uses transmission module 112 to receive information (e.g., over the
Internet) from the user’s office or supervisor as to specific geographic
assignments that the user has been given (step 704). Id. at 13:58–62.
Alternatively, the user may use user input module 124 to input the various


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locations of his/her assignment. Id. at 13:66–14:1. The information is
maintained in device 100 in standard database form in storage module 110.
Id. at 14:1–3. The user may be routed to his assignments by means of
location information module 134 (step 706), which receives information as
to specific assignments from storage module 110. Id. at 14:14–17. When
the user arrives at his specific assignment, he may use device 100 to verify
and capture information (step 708). Id. at 14:21–23. “Optionally, the user
will be asked to use the user verification module 132 to re-verify his or her
identity at the time of image capture.” Id. at 14:30–32. Digital images and
audio streams captured by LIVD 100 are written to storage module 110 with
additional information provided by auxiliary input module 126, which
provides information from, inter alia, locational information module 134,
date and time module 136, and user verification module 132, all of which
information is stored as a file associated with the digital image file or written
as an additional part of the digital image file (step 710). Id. at 14:39–49. In
a preferred embodiment, all of the information captured by capture module
122, including the associated information from auxiliary input module 126,
user input module 124, and user verification module 132, is immediately
encrypted by encryption module 140 (step 712). Id. at 14:50–55. The user
may then use transmission module 11 to transfer the information to his
office, supervisor, or any other party (step 714). Id. at 14:65–67.




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      Independent claim 1, reproduced below, is illustrative of the claimed
subject matter:
      1. A locational image verification device for verifying an
      assignment of a user comprising:
             a user verification module for verifying an identity of a
                user of the device, wherein upon verification, the user
                verification module enables operation of the device
                and provides an assignment to the user;
             a capture module for capturing an image relating to the
                assignment and creating a digital image file, wherein
                the user verification module verifies the identity of the
                user of the device at a time of the image capture;
             a locational information module for determining a
                 location of the device when capturing the image;
             a date and time module for determining a date and time
                of the image capture;
             a processing module for associating the assignment, the
                user identity, location information and the time and
                date to the digital image file; and
             an encryption module for encrypting the digital image
                file and associated information upon image capture.
Ex. 1001, 16:56–17:7 (emphasis added).


      B. Claim Construction
      The Board interprets claims of an unexpired patent using the broadest
reasonable construction in light of the specification of the patent in which
they appear. See 37 C.F.R. § 42.100(b); In re Cuozzo Speed Techs., LLC,
No. 2014-1301, 2015 WL 4097949, at *7–*8 (Fed. Cir. July 8, 2015). Only
those terms that are in controversy need to be construed, and then only to the


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extent necessary to resolve the controversy. See Vivid Techs., Inc. v. Am.
Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999). Claim terms
generally are given their ordinary and customary meaning, as would be
understood by one of ordinary skill in the art in the context of the entire
disclosure. See In re Translogic Tech., Inc., 504 F.3d 1249, 1257
(Fed. Cir. 2007).
      Claims are not interpreted in a vacuum but are a part of and read in
light of the specification. See Slimfold Mfg. Co. v. Kinkead Indus., Inc.,
810 F.2d 1113, 1116 (Fed. Cir. 1987); United States v. Adams, 383 U.S. 39,
49 (1966). Indeed, although it is improper to read a limitation from the
specification into the claims, the claims still must be read in view of the
specification of which they are a part. See Microsoft Corp. v. Multi-Tech
Sys., Inc., 357 F.3d 1340, 1347 (Fed. Cir. 2004).


             1. “user verification module”
      Petitioner asks us to construe the term “user verification module,” as
recited in claim 1 of the ’872 patent (see Pet. 7–8). Neither Petitioner nor
Patent Owner proposes any specific construction, however, and we conclude
that it is not necessary for our determination of whether to institute inter
partes review to construe expressly the term “user verification module.”
      The Specification of the ’872 patent provides examples of “user
verification modules” (see, e.g., Ex. 1001, 5:29–51), but does not define or
explicitly limit the term. Nonetheless, the plain language of claim 1
explicitly recites that the user verification module “provides an assignment
to the user” upon verification of the identity of the user. Ex. 1001, 16:58–


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61. The meaning of that language does not turn on the construction of the
term “user verification module,” and we, accordingly, do not construe the
term.


              2. “assignment”
        Claim 1 of the ’872 patent is directed to “[a] locational image
verification device for verifying an assignment of a user” that comprises,
inter alia, “a user verification module [that] . . . upon verification, . . .
provides an assignment to the user”; “a capture module for capturing an
image relating to the assignment and creating a digital image file . . .”; and
“a processing module for associating the assignment . . . to the digital image
file . . . .” Ex. 1001, 16:56–17:7. Similarly, claim 27 of the ’872 patent is
directed to “[a] method for verifying an assignment of a user, the method
comprising the steps of: . . . upon verification, receiving assignment
information for the user; capturing an image with an imaging device relating
to the assignment and creating a digital image file; . . . [and] associating the
assignment information . . . . to the digital image file . . . .” Id. at 18:25–40.
The term “assignment” also appears in dependent claims 7 (reciting “a
location of the assignment”), 29 (“a location of the assignment”), 30
(“prompting the user for information regarding at least one assignment”),
and 37 (“verifying at least one task of the assignment information has been
completed”). Id. at 17:22–24, 18:44:47, 18:48–50, 19:6–8. Patent Owner
seeks to distinguish an “assignment” from a “session,” as the latter term is
used in Davis (Ex. 1003). Prelim. Resp. 1, 3–6, 8–14. Petitioner does not
propose a construction for “assignment.”


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      Although no special definition is provided for “assignment” in the
’872 patent, the term is used in several instances in the Specification. The
Specification states, for example:
      The user will use the transmission module 112 of the device
      100 to receive information through the Global Computer
      Network from the user’s office or supervisor as to the specific
      geographic assignments that the user has been given (step 704).
      In a preferred embodiment, this information will be transferred
      from the user’s office or supervisor from a standard relational
      database that will contain data on the specific locations that the
      user is expected to visit along with tasks associated with each
      location. Alternatively, the user may use the user input module
      124 to input the various locations of his/her assignment.
Ex. 1001, 13:58–14:1.
      The Specification also states:
      The user may be routed to his assignments by means of the
      locational informational module 134 (step 706). This module
      will receive the information as to specific assignments from the
      storage module 110, and then display directions on routing with
      the display module 108. Thus, the user of the LIVD 100 will
      receive geographic directions to his specific assignments.
             When the user arrives at his specific assignment, he may
      use the device 100 to verify and capture information (step 708).
Ex. 1001, 14:14–23.
      Still further, the Specification states:
      Record 630 of table 628 will include all the information
      relevant for verifying at least one assignment or at least one
      task of an assignment assigned to the user. For example, record
      630 will include an identifier field 632 which will also be used
      as a key for linking the tables, a location of image capture field
      634, a date of image capture field 636, a time of image capture
      field 638, a user verification field 640, a picture sequence field


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      642 and an assignment completed field 644. Determining
      whether an assignment is completed can be accomplished either
      by the user indicating so via the input module or via the
      computer processing module by comparing user responses to
      prompted tasks.
Ex. 1001, 15:14–26.
      Patent Owner asserts that the broadest reasonable interpretation of
“assignment” is “a task.” Prelim. Resp. 10. According to Patent Owner,
“[t]he broadest reasonable interpretation of the term ‘assignment’ . . . is
based on its plain and ordinary meaning which is ‘a specified task or amount
of work . . . or undertaken as if [given] by authority’” (id. 9–10 (quoting
MERRIAM-WEBSTER ONLINE DICTIONARY, 2015, http://www.merriam-
webster.com/dictionary/assignment (modifications by Patent Owner))),
“[t]he specification does not explicitly limit the construction of ‘assignment’
in view of its plain and ordinary meaning” (id.), and “the prosecution history
supports that ‘task’ is a proper construction of the claim term ‘assignment’”
(id.). “Thus,” according to Patent Owner, “based on the plain and ordinary
meaning, the specification, and the prosecution history, the broadest
reasonable interpretation of the claim term ‘assignment’ is a task.” Id. at 11.
      Although Patent Owner’s proposed construction takes into account
one possible ordinary meaning of “assignment,” it is deficient because it
does not capture the “geographic location” aspect that is vital to the usage of
“assignment” in the Specification. In this regard, another definition of
“assignment” in the same dictionary, namely, “a position, post, or office to
which one is assigned” (see MERRIAM-WEBSTER ONLINE DICTIONARY,
supra), is more naturally aligned with the references in the ’872 patent to,


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for example, “geographic assignments,” “locations of . . . assignment,”
“geographic directions to . . . specific assignments,” and “arriv[al] at [an]
assignment” (see, e.g., Ex. 1001, 13:61, 13:67–14:1, 14:19–20, 14:21).
      Two of the usage examples provided by Patent Owner’s dictionary are
illustrative of the distinction. One example, “[t]he reporter’s assignment is
to interview the candidate,” is consistent with an assignment simply being a
task. That example, however, lacks any location aspect and is, accordingly,
much broader than the usage of “assignment” in the Specification. In
contrast, another example, “[t]he reporter is here on assignment,” implies a
geographic location and, therefore, more closely aligns with the
Specification’s usage of the term “assignment.”
      Patent Owner contends “the [S]pecification . . . does not limit the term
‘assignment’ to only geographic locations . . . [but] clarifies that the
assignment includes a task.” Prelim. Resp. 10. The Specification, however,
makes clear that an assignment includes at least a geographic location to
which a user is assigned to perform a task, such as to capture information.
Accordingly, a construction without that geographic location aspect is
unreasonably broad in light of the Specification.
      For purposes of this Decision, therefore, in light of the ordinary
meaning of “assignment,” as evidenced by a dictionary definition, as well as
the description in the Specification, we construe “assignment” to mean “a
location to which a user is assigned to perform a task.”




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      C. Proposed Ground 1: Obviousness of Claims 1–6, 9–12, 16, 18,
         21–24, 27, 28, 30, 31, 34–36, 38, and 39 over Davis and Steinberg
      Petitioner contends claims 1–6, 9–12, 16, 18, 21–24, 27, 28, 30, 31,
34–36, 38, 39 would have been obvious over the combined teachings of
Davis and Steinberg. Pet. 10–40.


                1. Claims 1–6, 9–12, 16, 18, and 21–24
      Petitioner contends Davis discloses each element required by
independent claim 1, except for explicit disclosure of “a user verification
module for verifying an identity of a user of the device, wherein upon
verification, the user verification module enables operation of the device and
provides an assignment to the user” and that “the user verification module
verifies the identity of the user of the device at a time of the image capture.”
Pet. 10–21. Petitioner relies on Steinberg to account for those features.
Id. at 11–17.
      According to Petitioner:
             With respect to all of the claimed modules in the claims
      of the ’872 patent, including the “user verification module,”
      Davis discloses that the functions of its digital camera may be
      implemented using one or more components (which alone or
      collectively form a module depending on their disclosed
      contribution to the disclosed functions), such as application
      programs executed on a processing unit such as a
      microprocessor or DSP. See, e.g., Ex. 1003, ¶¶ [0035]–[0037],
      [0082]–[0083]. Thus, all of the functions of Davis’s camera are
      performed using respective modules. For example, one
      function of Davis’s digital camera that would thus be
      implemented using an application program executed by a



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      processing unit obtains the identity of a user of the camera. See
      id., ¶¶ [0060]–[0061], [0108]; see also Ex. 1012, ¶¶ 18, 33.
              ....
              Davis discloses a “locational image verification device
      for verifying an assignment of a user,” such as a digital camera
      that may be used by a photographer whose supervisor provides
      operating parameters that define a session (e.g., an assignment).
      See Ex. 1003, ¶¶ [0032]–[0043], [0065]–[0066], Fig. 1. As one
      example, a session (e.g., an assignment) for capturing an image
      may be defined “for selected GPS locations within a defined
      range,” and the user may be disallowed from capturing images
      when the camera travels outside a particular geographic
      location specified in the session parameters. See id., ¶¶ [0068]–
      [0069]. Similarly, the session parameters can also selectively
      allow certain actions within a given area. Id., ¶ [0069]. See
      also citations and analysis below for claim elements 1(b)–(g).
      Ex. 1012, ¶ 30.
Id. at 10–11.
      Petitioner has not demonstrated a reasonable likelihood that it would
prevail in showing that independent claim 1 or claims 2–6, 9–12, 16, 18, and
21–24 dependent therefrom would have been obvious over Davis and
Steinberg. Claim 1 does not require merely that an assignment be
“provided,” but specifically requires the assignment to be provided “to the
user” by a user verification module that verifies an identity of a user of the
device, enables operation of the device, and provides an assignment to the
user. Petitioner has provided no persuasive evidence that the combination of
Davis and Steinberg discloses that an assignment is provided to the user by
such a module. Indeed, although cited portions of Davis indicate, for
example, that Davis’s camera “receives operating parameters for [a]
session,” “makes all settings to comply with the instructions specified in the


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operating parameters,” and “operates under the control of parameters that
govern th[e] session” (Ex. 1003, ¶¶ 66, 67), Davis is silent as to whether
operating parameters or any other session information is ever provided “to
the user,” much less by a user verification module that verifies identity of
the user. Moreover, Petitioner does not contend that Steinberg cures this
deficiency.
      For the foregoing reasons, Petitioner has not shown a reasonable
likelihood that it would prevail in establishing that any of claims 1–6, 9–12,
16, 18, and 21–24 would have been obvious over Davis and Steinberg.


              2. Claims 27, 28, 38, and 39
      Claim 27 is an independent method claim in which most of the steps
essentially track the functions of the modules recited in claim 1.
Importantly, however, claim 27 neither ties those functions to specific
modules nor recites that an assignment must be provided “to” a user, as in
claim 1. In particular, claim 27 does not include the limitation recited in
claim 1 of “a user verification module for verifying an identity of a user of
the device [that both] enables operation of [a] device and provides an
assignment to the user,” which is lacking from the combined teachings of
Davis and Steinberg. Instead, claim 27 recites the steps of “verifying a user
of the device to enable use of the device” and “upon verification, receiving
assignment information for the user,” without requiring those steps to be
performed by the same module or modules.
      Petitioner contends that claim 27 would have been obvious for the
same reasons given for claim 1. Pet. 32–35. Based on our consideration of


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the evidence in the Petition, we are persuaded in light of the differences
between claims 1 and 27 that Petitioner has demonstrated a reasonable
likelihood that it would show that claim 27 would have been obvious over
Davis and Steinberg.
      Patent Owner does not argue independent claim 27 separately, but
relies on an argument made with respect to claim 1 that “neither Davis nor
Steinberg discloses, inter alia, the claim term ‘assignment’ in claim 1 and
the Petitioner has not articulated any reasoning that a person of ordinary skill
in the art would not [sic] be able to infer the claim term ‘assignment’ based
on the teachings of the asserted prior art.” Prelim. Resp. 4.
      Patent Owner’s argument is not persuasive. As cited by Petitioner,
Davis discloses a “session mode” in which a camera operates under the
control of parameters that may be established from an external device.
Ex. 1003, ¶ 66–69. Davis discloses that the “session” may be in effect, for
example, for a specified period of time, for a selected number of images, or
for selected GPS locations within a defined range. Id. at ¶ 68. The camera
can be programmed to operate according to the parameters that govern the
session and may, for example, disallow the user from capturing images when
the camera travels outside a particular location specified in the session
parameters and monitored by a GPS unit within the device. Id. at ¶ 69.
      Citing one dictionary definition of “session,” Patent Owner asserts
that “a ‘session’ is construed as a period of time to perform an activity” and
that “Davis discloses this plain and ordinary meaning of ‘session’ by stating
the ‘the session may be in effect for a specified period of time.’” Prelim.
Resp. 13 (citing MERRIAM-WEBSTER ONLINE DICTIONARY, 2015,

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http://www.merriam-webster.com/dictionary/session; Ex. 1003, ¶ 67). As
Patent Owner acknowledges, however, “Davis continues by stating that the
session may be ‘for selected number of images and for selected GPS
locations within a defined range.” Id. (citing Ex. 1003, ¶ 67). It is clear
from Davis’s disclosure of the session being in effect “for selected GPS
locations within a defined range,” for example, that Davis’s usage of
“session” is not limited to “a period of time to perform an activity,” as Patent
Owner suggests, but that the session operating parameters explicitly define
embodiments within the scope of the claim term “assignment” as construed
in Section II.B.2. above as “a location to which a user is assigned to perform
a task.”
      Petitioner’s evidence (Pet. 10–21, 32–35) is persuasive that the
combination of Davis and Steinberg discloses all of the steps of claim 27.
With respect specifically to the step of “receiving assignment information
for the user,” Davis discloses receipt of operating parameters for a session
by Davis’s camera, setting, for example, the place for the session. Ex. 1003,
¶ 67. For the reasons set forth in the discussion of Patent Owner’s
arguments above, such operating parameters are “assignment information”
within the broadest reasonable interpretation of that term. Moreover,
because Davis discloses that the camera operating according to the session
parameters may, for example, disallow the user from capturing images when
the camera travels outside a particular location specified in the session
parameters (Ex. 1003, ¶ 69), Davis discloses that the assignment information
is received “for the user.” In light of such disclosures in Davis and our
consideration of the evidence cited in the Petition with respect to the

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remaining elements of claim 27, we are persuaded sufficiently that Petitioner
has shown a reasonable likelihood that it would prevail in establishing the
unpatentability of claim 27 as obvious over Davis and Steinberg.
      Each of dependent claims 28, 38, and 39 depends directly from claim
27. Each recites additional features that Petitioner contends are taught by
Davis and Steinberg. Pet. 35, 40. Patent Owner does not argue claims 28,
38, or 39 separately. Based on our consideration of the evidence in the
Petition, we are persuaded that Petitioner has demonstrated a reasonable
likelihood that it would show that claims 28, 38, and 39 would have been
obvious over Davis and Steinberg.


             3. Claims 30, 31, and 34–36
      Claims 30, 31, 34, 35, and 36 depend directly or indirectly from
claim 29. Petitioner contends that these claims would have been obvious
over Davis and Steinberg. As discussed in section II.D. below, Petitioner
does not allege that claim 29 is rendered obvious by Davis and Steinberg but
instead relies on the three-way combination of Davis, Steinberg, and
Steinberg ’902 (id. at 46). For the reasons stated in section II.D. below,
Petitioner’s argument that claim 29 would have been obvious over Davis,
Steinberg, and Steinberg ’902 is unpersuasive. Therefore, Petitioner’s
contentions that claims 30, 31, and 34–36 would have been obvious over
Davis and Steinberg alone (Pet. 35–40) are also unpersuasive.
      Accordingly, Petitioner has not shown a reasonable likelihood that it
would prevail in establishing the unpatentability of claims 30, 31, and 34–36
as obvious over Davis and Steinberg.


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      D. Proposed Ground 2: Obviousness of Claims 7, 13, 25, 26, and 29
         over Davis, Steinberg, and Steinberg ’902
      Claims 7, 13, 25, and 26 depend directly or indirectly from claim 1.
Each recites additional features that Petitioner contends are taught by
Steinberg ’902. Pet. 41–46. Petitioner, however, does not allege that
Steinberg ’902 discloses either “a user verification module [that] . . .
provides an assignment to [a] user” or “receiving geographic directions from
at least one location to a location of [an] assignment and displaying the
directions to [a] user,” which features are lacking from Davis and Steinberg.
Therefore, Petitioner’s reliance on Steinberg ’902 does not cure the
deficiencies discussed above with regard to Davis and Steinberg as applied
to the elements of claim 1.
      Claim 29 depends from claim 27 and recites, inter alia, the steps of
“receiving geographic directions from at least one location to a location of
the assignment and displaying the directions to the user.” Petitioner
concedes “Davis and Steinberg do not explicitly disclose that ‘the display
module displays geographic directions to the user from at least one location
to a location of the assignment’” (Pet. 41) and relies on the three-way
combination of Davis, Steinberg, and Steinberg ’902 as rendering obvious
the subject matter of claim 29 (Id. at 46). According to Petitioner:
      Steinberg ’902 discloses a digital camera that can receive data
      from an external source. Ex. 1005, 12:12–15; Ex. 1012, ¶ 87.
      For example, similarly to the “selected GPS locations” sent to
      the camera of Davis, Steinberg ’902 discloses that
      “[o]perational data can be sent to inform the user when and
      where to take a picture.” Ex. 1005, 12:18–19. Moreover, a

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        “map showing where to take a picture can be sent” to the
        camera, “which can be displayed by the user on a camera visual
        display.” Id., 12:19–21. The map in Steinberg ’902 would thus
        provide directions for [sic] at least one location (e.g., a location
        on the map other than a location at which a picture should be
        taken) to a location at which a picture should be taken.
        See Ex. 1012, ¶ 87.
Pet. 41–42.
        Petitioner’s arguments concerning claim 29 are not persuasive.
Although, as Petitioner explains (id. at 41), Steinberg ’902 discloses display
of “a map showing where to take a picture” (id. at 12:19–21), the cited
portions of Steinberg ’902 provide no support for Petitioner’s conclusion
that “[t]he map in Steinberg ’902 would thus provide directions [from] at
least one location . . . to a location at which a picture should be taken”
(Pet. 41–42). Simply put, the display of a map of a location is not the same
as a display of “geographic directions” to that location.
        Paragraph 87 of Dr. Essa’s declaration, which Petitioner cites in
support of its conclusion, simply provides a near-verbatim recitation of the
above-quoted portion of the Petition and cites the same portions of Steinberg
’902.
        Accordingly, Petitioner has not shown a reasonable likelihood that it
would prevail in establishing the unpatentability of claims 7, 13, 25, 26, and
29 as obvious over Davis, Steinberg, and Steinberg ’902.




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      E. Proposed Grounds 3–6: Obviousness of Claims 8, 14, 15, 17, 19,
         20, 32, 33, and 37 over Davis and Steinberg in combination with
         Terp, Fukunaga, Knowles, or Dodge
      Claims 8, 14, 15, 17, 19, and 20 depend directly or indirectly from
claim 1. Claims 32, 33, and 37 depend directly or indirectly from claim 30.
Each recites additional features that Petitioner contends are taught by Terp,
Fukunaga, Knowles, or Dodge. Pet. 46–60. Petitioner, however, does not
allege that Terp, Fukunaga, Knowles, or Dodge discloses either “a user
verification module [that] . . . provides an assignment to [a] user” or
“receiving geographic directions from at least one location to a location of
[an] assignment and displaying the directions to [a] user,” which features are
lacking from Davis and Steinberg. Therefore, Petitioner’s reliance on Terp,
Fukunaga, Knowles, and Dodge does not cure the deficiencies discussed
above with regard to Davis and Steinberg as applied to the elements of
claims 1 and 30.
      Accordingly, Petitioner has not shown a reasonable likelihood that it
would prevail in establishing the unpatentability of claims 8, 14, 15, 17, 19,
20, 32, 33, and 37 as obvious over the combination of Davis and Steinberg
with Terp, Fukunaga, Knowles, or Dodge.


                              III. CONCLUSION
      Petitioner has established a reasonable likelihood that it would prevail
in showing the unpatentability of each of claims 27, 28, 38, and 39 of the
’872 patent. Petitioner, however, has not established a reasonable likelihood
that it would prevail in showing the unpatentability of any of claims 1–26 or



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29–37 of the ’872 patent. The Board has not yet made a final determination
with respect to the patentability of any claim or the construction of any claim
term.


                                  IV.   ORDER
        For the reasons given, it is
        ORDERED that, pursuant to 35 U.S.C. § 314, inter partes review is
hereby instituted for claims 27, 28, 38, and 39 of the ’872 patent under
35 U.S.C. § 103(a) as obvious over Davis and Steinberg;
        FURTHER ORDERED that except as specifically enumerated above,
no other ground of unpatentability, with respect to any claim, is instituted for
trial; and
        FURTHER ORDERED that pursuant to 35 U.S.C. § 314(c) and
37 C.F.R. § 42.4, notice is hereby given of the institution of a trial
commencing on the entry date of this Decision.




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